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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 IN RE:                                                        CASE NO.: 6:17-bk-02971-CCJ
                                                                               CHAPTER 7
 Lelawtie Balgobind,

    Debtor.
 _________________________________/

RESPONSE TO CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE
 OF REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES,
 AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II) SURCHARGE
   AGREEEMENT BETWEEN SECURED LENDER AND THE ESTATE, AND (III)
                          OTHER RELIEF

       U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE, ON BEHALF OF THE
HOLDERS OF THE BEAR STEARNS ASSET BACKED SECURITIES I TRUST 2005-AC6,
ASSET-BACKED CERTIFICATES, SERIES 2005-AC6 ("Secured Creditor”), by and through
undersigned counsel, hereby files its Objection to Chapter 7 Trustee’s Motion to (I) Approve a
Short Sale of Real Property Free and Clear of Liens, Claims, Encumbrances, and Interests
Pursuant to 11 U.S.C. § 363(b), (f), and (m), (II) Surcharge Agreement Between Secured Lender
and the Estate, and (III) Other Relief (“Motion”) (DE #76) and, in support thereof, states as
follows:
1.            Secured Creditor holds a security interest in the Debtor’s real property located at
4422 BEAGLE ST., ORLANDO, FL 32818 (the “Property”).
2.     On March 26, 2019, Richard B. Webber II, Chapter 7 Trustee (the “Trustee”) filed

Chapter 7 Trustee’s Motion to (I) Approve a Short Sale of Real Property Free and Clear of Liens,

Claims, Encumbrances, and Interests Pursuant to 11 U.S.C. § 363(b), (f), and (m), (II) Surcharge




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Agreement Between Secured Lender and the Estate, and (III) Other Relief requesting approval to

sell the property as a short sale.

3. Secured Creditor previously sought and obtained an Order Granting Relief from the

Automatic Stay to proceed with its state court remedies against the subject property (DE #73).

4. Secured Creditor objects to the sale and requests this Court allow it to proceed with its state

court remedies as said sale will only cause more costs to be incurred by Secured Creditor as it

proceeds with its state court remedies. Such costs outweigh the benefit to the bankruptcy estate.

5. Alternatively, Secured Creditor requests that any order granting such sale include language

barring any third-party purchaser from standing in the shoes of the borrowers and asserting any

affirmative defenses in any underlying foreclosure action.

6. Secured Creditor, pursuant to 11 U.S.C. 363(k), also reserves the right to credit bid on the

Property.

7. Secured Creditor is filing its Response in an abundance of caution, as Secured Creditor wants

it to be clear that it should not be compelled to participate in a sale of the property absent

payment in full of Secured Creditor’s mortgage lien on the real property without being given the

right to credit bid pursuant to 11 U.S.C. § 363(k).

8. Furthermore, Secured Creditor requests that failure to complete any sale within 90-days of

entry of this Order will result in any Order authorizing the sale to be deemed moot.

9. Secured Creditor reserves the right to supplement this response at or prior to any hearing on

this matter.




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       WHEREFORE, Secured Creditor respectfully requests entry in compliance with the

above requests and for such other and further relief as the Court deems just and proper.



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                                             Attorney for Secured Creditor
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                                             Boca Raton, FL 33487
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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on April 18, 2019, I caused to be electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:
WILSON LEGAL GROUP, P.A.
7635 ASHLEY PARK CT. SUITE 503-S
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LAURIE K WEATHERFORD
POST OFFICE BOX 3450
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UNITED STATES TRUSTEE - ORL7/13, 7
OFFICE OF THE UNITED STATES TRUSTEE
GEORGE C YOUNG FEDERAL BUILDING
400 WEST WASHINGTON STREET, SUITE 1100
ORLANDO, FL 32801

LELAWTIE BALGOBIND
4422 BEAGLE STREET
ORLANDO, FL 32818



                                           By: /s/April Harriott
                                           April Harriott, Esquire
                                           Florida Bar Number 37547
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